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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                      LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
           Plaintiff,                             )     Criminal No. 6:16-cr-0034-GFVT-HAI-4
                                                  )
 V.                                               )
                                                  )
 KENNETH BRITTON,                                 )                      ORDER
                                                  )
           Defendant.                             )
                                                  )

                                       *** *** *** ***

       This matter is before the Court on the Recommendation to Accept Guilty Plea filed by

United States Magistrate Judge Hanly A. Ingram. [R. 287.] The recommendation instructed the

parties to file any specific written objections within three days after being served with the

decision, or else waive the right to further review. Id. at 3. Defendant Britton has not made an

objection; failure to make timely objections to the Magistrate Judge’s Report and

Recommendation results in waiver of any further appeal to or review by the District Court and

Court of Appeals as to the particular decision at issue. See Thomas v. Arn, 106 S. Ct. 466

(1985); United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981).

       Upon review, the Court is satisfied that Defendant Britton knowingly and competently

pleaded guilty to the charged offense and that an adequate factual basis supports the plea as to

each essential element of the offense charged. Accordingly, the Court hereby ORDERS as

follows:

       1.         Judge Ingram’s Recommendation to Accept Guilty Plea [R. 287] is ADOPTED

as and for the Opinion of the Court;
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       2.     Defendant Anthony Britton is ADJUDGED guilty of Count One (1) of the

Second Superseding Indictment [R. 181];

       3.     The Defendant’s Jury Trial is CANCELLED; and

       4.     A Sentencing Order shall be entered promptly.

       This the 21st day of March, 2018.




                                             2
